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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA



     ELIZABETH SINES ET AL.                             :       Case No. 3:17-CV-72

                    Plaintiff                           :       Judge MOON


                                                        :
            -v-

     JASON KESSLER ET AL.                               :

                                                        :
                    Defendants


          MOTION TO DISMISS THE PLAINTIFF’S AMENDED COMPLAINT



           Now come Defendant Nationalist Front and moves the Court to dismiss all claims

    against it for the same reasons as stated in DE 104 and 105 which pleadings defendant

    hereby incorporates by reference.



                                                 Respectfully Submitted,


                                                 s/ Elmer Woodard
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                                    CERTIFICATE OF SERVICE
    I hereby certify the above was served via the Court’s ECF system on January 26, 2018
    upon:

    All parties of record. One party is entitled to or has requested service by other means and
    said party has been served by regular US mail/ electronic mail as follows:
    Mr. Michael Enoch Peinovich
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    Hopewell Junction, NY 12533
    mpeinovich@gmail.com

                                                          s/ Elmer Woodard

                                                          E. Woodard (VSB 27734)




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